Case 2:10-cv-02734-CCC-MF Document 1120 Filed 01/27/21 Page 1 of 3 PageID: 62971




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                                             January 27, 2021

  VIA ECF
  Honorable Claire C. Cecchi, U.S.D.J.
  United States District Court
  District of New Jersey
  50 Walnut Street
  Newark, NJ 07101

          Re:      In re Biogen ’755 Patent Litigation, No. 2:10-cv-02734-CCC-MF

  Dear Judge Cecchi:

          Biogen respectfully submits this letter in response to the one by Defendants EMD Serono,
  Inc., and Pfizer Inc. (collectively, “Serono”) on January 13, 2021 [ECF No. 1116] (“2021-01-13
  Letter”).
           Serono first argues that this Court “has no jurisdiction to consider” Biogen’s request.
  (2021-01-13 Letter at 1). Serono is mistaken. As the Federal Circuit noted in Exxon Chem. Pats.,
  Inc. v. Lubrizol Corp., 137 F.3d 1475 (Fed. Cir. 1998):
                [E]very appellate court judgment vests jurisdiction in the district court to
                carry out some further proceedings. In some cases, those further
                proceedings may be purely ministerial, as when a judgment for the
                plaintiff is reversed and the only matters that remain for the district court
                are to dismiss the complaint and enter the judgment in the docket.
                Frequently, however, the disposition of a case in the court of appeals will
                require the district court to undertake more significant proceedings.

  Id. at 1483. The court explained that, as a general rule, “following appellate disposition, a district
  court is free to take any action that is consistent with the appellate mandate.” Id. at 1484. Although
  the Federal Circuit rendered its opinion on issues of anticipation of U.S. Patent No. 7,588,755 (“the
  ’755 Patent”), there is a pending reexamination of the ’755 Patent in the U.S. Patent and Trademark
  Office that may result in the issuance of new claims. If such claims are issued, this Court will
  certainly have to undertake proceedings that are not ministerial. As a result, your Honor may now
  consider “staying and administratively terminating” this action “pursuant to the Court’s inherent
  powers to control the docket and preserve judicial economy.” See, e.g., Lightner v. 1621 Route 22
  W. Operating Co., LLC, No. 12-cv-4696-MLC, 2013 WL 951061, at *1 (D.N.J. Mar. 1, 2013)
  (staying and administratively terminating an action where time to appeal a decision from the D.C.
  Circuit had not yet lapsed); id. at *1 n.2 (“administrative termination is not a final determination
Case 2:10-cv-02734-CCC-MF Document 1120 Filed 01/27/21 Page 2 of 3 PageID: 62972




  Honorable Claire C. Cecchi, U.S.D.J.
  January 27, 2021—Page 2

  on the merits, as it ‘permits reinstatement,’ ‘contemplates the possibility of future proceedings,’
  and ‘does not purport to end litigation on the merits’”). The case Serono relies on, MD Security
  Solutions, LLC v. Protection 1, Inc., No. 6:15-CV-1968-PGB-GJK, ECF No. 49 at 5 (M.D. Fla.
  Sept. 26, 2017), does not suggest otherwise. In MD Security Solutions, the district court dismissed
  the case as moot after the PTO found the patent-at-issue unpatentable and the time to appeal
  expired. There, unlike here, there was no pending PTO proceeding that could have resulted in new
  claims.
          Serono also argues that “the Court has no authority to ignore the Federal Circuit’s mandate
  instructing entry of judgment on the verdict.” (2021-01-13 Letter at 2). That is true but irrelevant.
  Biogen does not ask this Court to ignore the mandate. Rather, Biogen asks the Court to wait until
  the pending reexamination proceedings are complete before ruling on the status of this case. Cf.
  Gould v. Control Laser Corp., 705 F.2d 1340 (Fed. Cir. 1983) (affirming a stay of proceedings
  pending conclusion of a reexamination before the Patent Office). None of Serono’s cited cases
  involve a pending reexamination with new claims. See Cardiac Pacemakers, Inc. v. St. Jude Med.,
  Inc., 576 F.3d 1348, 1356–57 (Fed. Cir. 2009) (mandate rule precluded reconsideration of
  anticipation defense where the order limited any new trial to issues of infringement and damages);
  In re Roberts, 846 F.2d 1360, 1363 (Fed. Cir. 1988) (refusing to enter an order that contravenes
  the mandate of another appellate court); M. D. by Stukenberg v. Abbott, 977 F.3d 479, 481 (5th
  Cir. 2020) (reversing district court’s expansion of injunction where mandate specifically instructed
  not to make “further changes”); Sibbald v. United States, 37 U.S. 488, 492 (1838) (lower courts
  are bound by the appellate mandate); Blasband v. Rales, 979 F.2d 324, 328–29 (3rd Cir. 1992)
  (mandamus granted where district court attempted “to secure a de facto reversal” of the appellate
  decision by seeking certification in state court of an issue that federal appellate court already
  decided); Litman v. Mass. Mut. Life Ins. Co., 825 F.2d 1506, 1515 (11th Cir. 1987) (district court
  was obligated to conduct a trial on the issue of punitive damages as ordered in the mandate).
          Serono also argues that “this Court’s authority is limited to fulfilling its ‘obligation to
  implement’ the mandate of the higher court.” (2021-01-13 Letter at 2 (emphasis added)). Not so.
  On remand, the lower court “may consider and decide any matters left open by the mandate.”
  Quern v. Jordan, 440 U.S. 332, 347 n.18 (1979) (citing In re Sanford Fork & Tool Co., 160 U.S.
  247, 256 (1895) (internal citations omitted)); Engel Indus., Inc. v. Lockformer Co., 166 F.3d 1379,
  1383 (Fed. Cir. 1999) (“Only the issues actually decided—those within the scope of the judgment
  appealed from, minus those explicitly reserved or remanded by the court—are foreclosed from
  further consideration.”). Here, there are indeed “matters left open by the mandate” for this Court
  to consider and decide: pending claims that may be asserted against Serono (and Bayer) that were
  not invalidated by the Federal Circuit decision. The cases cited by Serono do not hold otherwise.
  See United States v. Fumo, 513 F. App’x 215, 218 (3d Cir. 2013) (district court has an obligation
  to implement the mandate, but does not state that the district court is solely limited to such action);
  United States v. Mesa, 247 F.3d 1165, 1170 (11th Cir. 2001) (same); United States v. Kennedy,
  682 F.3d 244, 252–53 (3d Cir. 2012) (same); In re A.F. Moore & Assocs., Inc., 974 F.3d 836, 840
  (7th Cir. 2020) (same); Seese v. Volkswagenwerk, A.G., 679 F.2d 336, 337 (3d Cir. 1982) (similarly
Case 2:10-cv-02734-CCC-MF Document 1120 Filed 01/27/21 Page 3 of 3 PageID: 62973




  Honorable Claire C. Cecchi, U.S.D.J.
  January 27, 2021—Page 3

  does not state that the district court is solely limited to implementing the mandate); Amado v.
  Microsoft Corp., 517 F.3d 1353, 1360 (Fed. Cir. 2008) (same).
          Last, Serono argues that Rule 41(d) of the Federal Rules of Appellate Procedure sets forth
  the exclusive procedure for seeking a stay of an appellate mandate. (2021-01-13 Letter at 3). As
  with Serono’s argument that this Court may not disregard an appellate mandate, that is true but
  irrelevant. Biogen does not ask the Court to stay the mandate. Instead, Biogen asks this Court to
  consider the outcome of the pending claims that are currently under reexamination before entering
  final judgment. Cf. Standard Oil Co. of Cal. v. United States, 429 U.S. 17, 18 (1976) (denying
  FRCP Rule 60(b) motion to set aside judgment based on new facts, without prejudice to the movant
  to proceed in district court, stating that “the appellate mandate relates to the record and issues then
  before the court, and does not purport to deal with possible later events”).
          For the foregoing reasons, Biogen respectfully requests that rather than enter judgment as
  Serono and Bayer request, the Court schedule a status conference in six months for an update on
  the status of any proceedings. Thank you for your consideration of this request.

                                                 Respectfully submitted,


                                                 Kevin H. Marino

  cc: All counsel of record
